


  Proceeding pursuant to CPLR article 78 in the nature of mandamus to compel the respondent, a Justice of the Supreme Court, Queens County, to decide a motion in an underlying civil action entitled Johnson v “R” and “C” Gen. Constr. Co., pending in that court under index No. 20061/12, and application by the petitioner for leave to prosecute the proceeding as a poor person.
 

  Ordered that the application for leave to prosecute the proceeding as a poor person is granted to the extent that the filing fee imposed by CPLR 8022 (b) is waived, and the application is otherwise denied; and it is further,
 

  Adjudged that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
 

  The extraordinary remedy of mandamus will lie only to compel the performance of a ministerial act, and only where there exists a clear legal right to the relief sought (see Matter of Legal Aid Socy. of Sullivan County v Scheinman, 53 NY2d 12, 16 [1981]). The petitioner has failed to demonstrate a clear legal right to the relief sought.
 

  Roman, J.P., Maltese, LaSalle and Brathwaite Nelson, JJ., concur.
 
